      Case 4:20-cr-00276-GKF Document 108 Filed in USDC ND/OK on 04/26/21 Page 1 of 2


                                         UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF OKLAHOMA


United States of America,
                                                                  Case No.:      20-cr-276-GKF
                                                 Plaintiff,
vs.                                                               Proceeding:    Jury Trial
                                                                  Date:          4/19/2021 – 4/26/2021
                                                                  Total Time:    28 hours 23 minutes
Shannon James Kepler,
                                                                  MINUTE SHEET - CRIMINAL TRIAL
                                              Defendant.

Gregory K. Frizzell, U.S. District Judge           K. Perkins, Deputy Clerk              Brian Neil, Reporter

Counsel for Plaintiff: Ross Lenhardt, Sean Taylor Counsel for Defendant: Stan Monroe Appt.
Case Agent:             Tara Wade, FBI Agent
Appears in Person: ☒ Pltf. ☒ Deft. ☒ Parties announce ready ☒ Jury impaneled & admonished
Opening Statement: ☒ Pltf. ☒ Deft. ☒ Rule is invoked                   ☐ Deft. defers until close of Pltf. Case
                      ☒ Plaintiff presents case in chief with testimony of witnesses ☒ Plaintiff rests
Exhibits admitted: ☒ Pltf. ☒ Deft.
Motion for:           ☐ Pltf. ☒ Deft. ☒ Judgment of Acquittal ☐ granted ☒ denied
4/22 - 23/2021:       ☒ Defendant presents case in chief with testimony of witnesses ☒ Defendant rests
Renew Motion for: ☐ Pltf. ☒ Deft. ☒ Judgment of Acquittal ☐ granted ☒ denied
 4/26/2021:           ☒ Court instructs Jury ☒ Closing Arguments ☒ CSO sworn                      ☒Jury deliberates
Jury returns:         ☒ verdict         ☐ hung verdict                 ☒ is polled ☒ is discharged
                      Jury finds Deft.: ☒ Guilty, as to Cts,         2 and 3
                                        ☒   Not  Guilty, as to Ct.   1
                      ☒ Case referred to Probation Office for Presentence Investigation Report (Ashlyn Lollman)
Sentencing set for: 8/11/2021             at 1:30 p.m.
Defendant:                              ☐ stand on present bond ☒ remanded to USM
                      ☒ Exhibits returned to Parties
                      ☒ Ordered that Jury lunch paid for at Government expense on:
                         4/20 – 4/26/2021




   Court Time:
    4/19/21:              4/20/21:        4/21/21:          4/22/21:          4/23/2021:             4/26/2021:
   jury selection       9:32 – 11:10    9:02 – 10:51      9:03 – 10:45    9:00 – 10:27             9:00 – 11:03
   2:02 – 3:42          11:29 – 12:28   11:11 – 12:22     11:05 – 12:45   10:54 – 12:08            Deliberation began
   4:01 – 5:29          1:31 – 3:17     1:28 – 3:13       1:47 – 2:52     1:12 – 2:55              3:30 – 3:32
                        3:33 – 4:57     3:32 – 4:59       3:12 – 4:13     Informal Inst Conf:      6:07 – 6:30
                                                                          3:36 – 4:25
                                                                          Formal Inst Conf:
                                                                          6:29 – 6:36

   Minute Sheet Trial                                                                             (CR-01a Modified 6/2020)
Case 4:20-cr-00276-GKF Document 108 Filed in USDC ND/OK on 04/26/21 Page 2 of 2




Minute Sheet - Criminal Trial, Case No. 20-cr-276-GKF (continued)


Additional Minutes:

4/19/2021:           Jury selection began and the jury was impaneled. Remaining prospective jurors thanked and
                     released. Reconvene on 4/20/21 at 9:00 a.m.

4/20/2021:           Opening statements made and Plaintiff presented case in chief. Trial to reconvene on
                     4/21/2021 at 9:00 a.m.

4/21/2021:           Plaintiff resumed presenting case in chief. Trial to reconvene on 4/22/2021 at 9:00 a.m.

4/22/2021:           Plaintiff resumed presenting case in chief. Agreed redacted Grand Jury testimony of Lisa
                     Kepler was read into the record for the jury. Plaintiff rested. Outside presence of the jury,
                     defendant’s motion for judgment of acquittal was heard and denied. Defendant presented case
                     in chief. Trial to reconvene on 4/23/2021 at 9:00 a.m.

4/23/2021:           Defendant resumed presenting case in chief and rested. Outside presence of the jury,
                     defendant’s renewed motion for judgment of acquittal was heard and denied. Closing
                     arguments will be 30/45/15. Jury was brought in and excused to return on Monday, 4/26/2021
                     at 9:00 a.m. Informal and formal jury instruction conference was held; objections stated for the
                     record.

4/26/2021:           Outside the presence of the jury, court stated further ruling on instructions. Counsel waived the
                     reporting of jury instructions. Jury was present and instruction; closing arguments were made.
                     At 3:05 pm, question received from jury and counsel had no objection to the court’s response
                     (Court Exhibit 2). Verdict was reached and published to the jury; defense counsel requested
                     polling of the jury. Defendant agrees to the forfeiture allegation being determined by the court.




Minute Sheet Trial                                                                            (CR-01a Modified 6/2020)
